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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


MENG HUANG,
                                                     Case No. 2:19-cv-1976
                      Plaintiff,
       v.                                            Judge James L. Graham

THE OHIO STATE UNIVERSITY, et al.,                   Magistrate Judge Chelsey M. Vascura

                      Defendants.

                                            ORDER

       On January 31, 2022, Plaintiff’s counsel filed their Motion to Withdraw as Counsel for

Plaintiff citing an “irretrievable breakdown in the relationship between client and counsel” as one

of several reasons counsel believes good cause exists to grant their motion. (ECF No. 121 at 6612.)

Counsel represents that “Plaintiff has also stated that she wishes to terminate her counsel’s

engagement.” (Horowitz Aff. ¶ 4, ECF No. 121-2 at 6615.)

       Plaintiff is hereby ordered to respond to her counsel’s motion to withdraw on or before

February 13, 2022. If Plaintiff has retained new counsel, she must inform the Court of counsel’s

identity and have her new counsel file a notice of appearance immediately.



       IT IS SO ORDERED.
                                                            /s/ James L. Graham
                                                            JAMES L. GRAHAM
                                                            United States District Judge

DATE: February 3, 2022
